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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO

JOHN R. LEVENDOSKI,

             Plaintiff,
v.                                                         CV No. 20-295 KG/CG

C R BARD INCORPORATED, et al.,

             Defendants.

             ORDER SETTING TELEPHONIC STATUS CONFERENCE

      THIS MATTER is before the Court after conferring with counsel about a mutually

convenient date and time. IT IS HEREBY ORDERED that a status conference will be

held by telephone on July 16, 2020, at 2:30 p.m. Parties shall call Judge Garza’s AT&T

Teleconference line at (877) 810-9415, follow the prompts, and enter the Access Code

7467959, to be connected to the proceedings.

      IT IS SO ORDERED.


                                 THE HONORABLE CARMEN E. GARZA
                                 CHIEF UNITED STATES MAGISTRATE JUDGE
